                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF TENNESSEE
                               AT GREENEVILLE


 UNITED STATES OF AMERICA                       )
                                                )
 v.                                             )       No. 2:15-CR-036
                                                )
 DANA CHARLES WHALEY                            )


                           MEMORANDUM AND ORDER

       The indictment in this three-defendant case contains eight counts, three of which

 pertain to defendant Dana Charles Whaley (“the defendant”). Count One charges a

 conspiracy to manufacture 50 grams or more of methamphetamine. Count Two charges

 possession of methamphetamine precursors. Count Three charges the maintaining of a

 premises for the purpose of manufacturing, distributing, and using methamphetamine.

 The defendant has pled guilty only to a lesser-included offense related to Count One

 (conspiring to manufacture less than five grams) and will be sentenced on May 3, 2016.

       The United States Probation Office has prepared and disclosed a Presentence

 Investigation Report (“PSR”) [doc. 69], to which the defendant formally filed a notice of

 no objection, “waiv[ing] any right to an evidentiary hearing upon any of its contents”

 [doc. 72]. Two weeks later, the defendant filed a motion for downward departure,

 arguing that his offense level in the PSR should have been adjusted downward by two

 due to his allegedly minor role in the conspiracy, pursuant to United States Sentencing

 Commission Guidelines Manual (“U.S.S.G.) § 3B1.2(b).




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         The court construes the defendant’s motion as an untimely objection to his PSR.

 For the reasons that follow, that objection will be overruled.

         Advisory guideline 3B1.2(a) provides for a 4-level downward “minimal

 participant” adjustment for persons who played “a minimal role in the criminal activity,”

 and who had comparatively lesser knowledge of the scope and structure of the crime. See

 U.S.S.G. § 3B1.2 cmt. n.4 (2015). Advisory guideline 3B1.2(b) recommends a two-level

 downward “minor participant” adjustment for persons who are “less culpable than most

 other participants in the criminal activity, but whose role could not be described as

 minimal.” Id. cmt. n.5. These adjustments are available to “a defendant who plays a part

 in committing the offense that makes him substantially less culpable than the average

 participant in the criminal activity.” Id. cmt. n.3(A).

         The two codefendants in this case also pled to lesser-included offenses of Count

 One, although at a higher statutory penalty level than the instant defendant.          Each

 codefendant pled to a conspiracy to manufacture five grams or more of

 methamphetamine, and each acknowledged participating in the conspiracy for a longer

 time.

         According to his untimely objection, the defendant “would state that he was never

 personally involves [sic] in the actual manufacture of methamphetamine.” [Doc. 76, p.2].

 He further states, “It is important to note that Mr. Whaley’s illegal activity lasted no more

 than three days.” [Id.]. These statements are wholly inconsistent with the defendant’s

 plea agreement and call into question his continued entitlement to an acceptance of

 responsibility reduction under guideline 3E1.1 and paragraph 7 of his plea agreement.

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          In the plea agreement, the defendant acknowledges his involvement in the instant

 conspiracy from approximately December 17, 2013, to April 7, 2014. [Doc. 53, ¶ 4(a)].

 He “further admits to actively participating in the conspiracy.”          [Id. ¶ 4(e)].   On

 December 17, he admittedly disposed of meth-making materials in a burn pile behind his

 residence. [Id. ¶ 4(b)]. At paragraph 4(c) of his plea agreement, the defendant twice

 acknowledges that he, along with two others, “manufactured methamphetamine” at his

 residence. On April 7, items involved in methamphetamine manufacture were found

 inside and outside his home.         These items included “numerous ‘shake and bake’

 methamphetamine cook bottles, and numerous used coffee filters.”                [Id. ¶ 4(c)]

 (emphases added). Lastly, the defendant’s plea agreement provides that he will receive

 an increase in his offense level, pursuant to guideline 2D1.1(b)(12) for maintaining a

 premises for the purpose of manufacturing or distributing a controlled substance. [Id. ¶

 4(g)]

          It is true that the codefendants in this case were held accountable for five grams or

 more of methamphetamine, whereas the present defendant is only being held accountable

 for less than five. Thus, it is likely also true that the scope of the codefendants’ conduct

 was even more serious than the present defendant’s. However, the defendant’s conduct

 was still serious - just slightly less so. Methamphetamine manufacture is a significant

 crime.

          The court recognizes that Application Note 3(A) to Guideline 3B1.2 provides that

 a defendant may still be entitled to a role reduction even though he has been held

 accountable only for the conduct in which he was personally involved. U.S.S.G. § 3B1.2

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 cmt. n.3(A). Presuming, without deciding, that this is the case here, to be eligible for a

 3B1.2 adjustment such persons must also have “perform[ed] a limited function in the

 criminal activity . . . .” Id. The present defendant did not “perform a limited function.”

 He provided a safe haven for methamphetamine manufacture on multiple occasions. He

 disposed of waste (in a dangerously irresponsible manner) and allowed the storage of lab

 components in his home. At least in April 2014, he too manufactured meth and, during

 the April 7 search, proof of “numerous” meth manufactures was found.

       In sum, while possibly somewhat less culpable than his codefendants, the present

 defendant nonetheless has admitted that he participated in, and/or hosted, “numerous”

 shake-and-bake manufactures of methamphetamine. That is a very serious offense, and

 the defendant is responsible for it. He knew and understood the scope of his crime and

 cannot be described as “substantially less culpable than the average participant” in the

 offense. U.S.S.G. § 3B1.1 cmt. n.3(A) (emphasis added). If anything, the recommended

 advisory guideline range of 37 to 46 months understates the severity of this defendant’s

 conduct.

       The defendant’s untimely objection to his PSR [doc. 76] is accordingly

 OVERRULED. Sentencing remains set for Tuesday, May 3, 3016, at 10:15 a.m. in

 Greeneville.

                IT IS SO ORDERED.

                                                        ENTER:

                                                               s/ Leon Jordan
                                                         United States District Judge


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